     Case 2:16-cv-02893-SRB Document 12 Filed 11/01/16 Page 1 of 2



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 4   floyd@bybeelaw.com
 5   Attorney for Plaintiff
 6
 7                        UNITED STATES DISTRICT COURT
 8                            DISTRICT OF ARIZONA
 9
                                        )
10   Theodora Wilson Orr,               )        No. CV16-2893-PHX-SRB
                                        )
11                                      )
                                        )
12           Plaintiff,                 )
                                        )
13   v.                                 )        NOTICE OF DISMISSAL
                                        )          WITH PREJUDICE
14   Zenco Collections LLC, et al.,     )
                                        )
15                                      )
                                        )
16           Defendants.                )
                                        )
17                                      )
18           Plaintiff, by and through counsel, hereby gives notice of dismissal
19   of this case in its entirety against all parties with prejudice, with each
20   party to bear its own attorney’s fees and costs.
21   / / /
22   / / /
23
24
25
     Case 2:16-cv-02893-SRB Document 12 Filed 11/01/16 Page 2 of 2



 1
 2         RESPECTFULLY SUBMITTED: November 1, 2016 .
 3
 4                                    s/ Floyd W. Bybee
                                    Floyd W. Bybee, #012651
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10   Copy of the foregoing mailed
      November 1, 2016 to:
11
     Zenco Collections LLC
12   c/o Stephen G. McFayden
     903 N. Bowser Ave #250
13   Richardson, TX 75081-2867
     Defendant
14
     Federal Pacific Credit Company, LLC
15   c/o William R. Stratton
     140 W 2100 S #220
16   Salt Lake City, UT 84115
     Defendant
17
18   by Floyd W. Bybee
19
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21
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